Case 19-24224-JKS        Doc 32    Filed 12/03/19 Entered 12/03/19 13:52:17       Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY


In re:                              :                  Case no.:         19-24224
                                                                   ____________________
                                    :
Carey Skorski                       :                  Chapter:             7
                                                                   ____________________
                                    :
                                    :                  Judge:          SHERWOOD
                                                                   ____________________
                        Debtor(s)   :
____________________________________:


                              CERTIFICATION OF NO OBJECTION


                Lucinda Chapman
         I _________________________, Deputy Clerk hereby certify that there have been no
objections filed relative to the Notice of Proposed:


              Abandonment

              Public Sale

              Private Sale

              Settlement of Controversy

              Auctioneer Compensation

Description of Property (if applicable):
141 Columbis Avenue, Jersey City, New Jersey.




                                                       JEANNE A. NAUGHTON, Clerk

      12/3/19
Date: _____________________                                /s/Lucinda Chapman
                                                       By: __________________________

                                                                                        rev.2/10/17
